Case 1:24-cv-00374-JRR Document1-2 Filed 02/07/24 Page1of14

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

District of Maryland [=]

Elias Costienas

Plaintiff(s)
Vv.
Department of Justice, et al

Civil Action No.

P 2400374

Nu Nee Nace Nee Nee Ne Nee See eee Se”? ee ee”

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Qe ont “ ok J v5 Lice Cl

any Us Ath ry s oly

VS Ag RII, Ave. Nw Po Bay re
Wal OC. 2OssO Moatsewery AL

S6(0|
A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Elias Costienas
3201 University Ave.
Morgantown, WV 26505

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

Case 1:24-cv-00374-JRR Document1-2 Filed 02/07/24 Page 2of14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4())

This summons for (name of individual and title, if any)

was received by me on (date)

C1 I personally served the summons on the individual at (place)

on (date) ; OF

I [left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (xame of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
J I returned the summons unexecuted because ; Or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:

Case 1:24-cv-00374-JRR Document1-2 Filed 02/07/24 Page 3of14

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

District of Maryland [=]

Elias Costienas
Plaintiff(s)
Vv. Civil Action No. Tee 2 bs CY 0 3 ? &

Department of Justice, et al

Nee Nee Nee ee Nee ee ee ee ee ee Se ee”

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) ce (2 TL
Us A€ tds A, Poraeys otic
450 Pentland Ave AW \ 00 Goy \ WwW
Weehinghon DC 20S3e Monhowen [-
A lawsuit has been filed against you. Ss 6 ( O |

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Elias Costienas
3201 University Ave.
Morgantown, WV 26505

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

. Signature of Clerk or Deputy Clerk

Case 1:24-cv-00374-JRR Document1-2 Filed 02/07/24 Page4of14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 )

This summons for (name of individual and title, if any)

was received by me on (date)

Cl I personally served the summons on the individual at (lace)

on (date) , 3 OF

CI I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
4 I returned the summons unexecuted because ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:

Case 1:24-cv-00374-JRR Document1-2 Filed 02/07/24 Page5of14

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Maryland \~}
Elias Costienas )
)
)
)
Plaintiffs)
Vv. Civil Action No. ¢
Department of Justice, et al JKR 2 4 CV 0 3 7 4
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) N ec ri ot i ow LA TF VU 5 A bor wants alice

We bene Hyon Ase M W Coe ey Ay
ghix bee ZO) 30
Gy) askts Sbl0[

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Elias Costienas
3201 University Ave.
Morgantown, WV 26505

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

Case 1:24-cv-00374-JRR Document1-2 Filed 02/07/24 Page6éof14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. °

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P.4 (2)

This summons for (name of individual and title, if any)

was received by me on (date)

C1 I personally served the summons on the individual at (place)

on (date) 5 Or

(7 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

[7 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
(1 I returned the summons unexecuted because ; Or
Cl Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:

Case 1:24-cv-00374-JRR Document1-2 Filed 02/07/24 Page/7 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Maryland [=]

Elias Costienas

Plaintiff(s)
Vv.
Depariment of Justice, et al

Civil Action No. Ree 24CV0374

Nae ee ee Ne ee ee ee ee eee eee ee Se”

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) O CO Jail Ce
nse R conas-| Eric 6-laay
51GB ot ot NW sale ESS
Waskata DC 27eP|

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Elias Costienas
3201 University Ave.
Morgantown, WV 26505

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

Date:

Cl I personally served the summons on the individual at (place)

on (date) 5 Or

Cl I left the summons at the individual’s residence or usual place of abode with (name)

__, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

(1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

On (date) 3 Or
C1 [returned the summons unexecuted because ; or
1 Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:

Case 1:24-cv-00374-JRR Document1-2 Filed 02/07/24 Page9of14

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Maryland , [=]

Elias Costienas

Plaintifj(s)
v.
Department of Justice, et al

Civil Action No. ee 24CV037 i

Defendant(s)

To: (Defendant’s name and address) CN cislko (5 y Ur oo
US Ate ° 7 IS AMoreeys 0 He
450 Pentel Ave AW \e0 Boy V4 al)
Week ivan DC 20530 Moahpwery

360 {

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Elias Costienas
3201 University Ave.
Morgantown, WV 26505

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

(1 I personally served the summons on the individual at (place)

on. (date) 3 Or

Cl I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

(J Iserved the summons on (name of individual) . , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; Or
(1 I returned the summons unexecuted because ; or
C1 Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:

Case 1:24-cv-00374-JRR Document1-2 Filed 02/07/24 Page 11of 14

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

District of Maryland

Elias Costienas

Plaintiff(s)
Vv.
Department of Justice, et al

Civil Action No. TR e 24 CV037 hi

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Mea Ue pe Ge ves

UJ C WS A Horaeys . Mie
Yeo NE end Ave Ali PO Coy \ ‘al
Weeehtwion DC 205 So Ms ahpwey

A lawsuit has been filed against you. S 6 ( 0 \

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of

the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Elias Costienas
3201 University Ave.
Morgantown, WV 26505

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

Case 1:24-cv-00374-JRR Document1-2 Filed 02/07/24 Page 12 of 14

AO 440 (Rev. 06/12) Summons ina Civil Action (Page 2)
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Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

1 I personally served the summons on the individual at (place)

on (date) 3 or

\

(1 1 left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

[I [served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) 5; OF
C1 I returned the summons unexecuted because ; Or
Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:

Case 1:24-cv-00374-JRR Document1-2 Filed 02/07/24 Page 13 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Maryland [=]

Elias Costienas

Plaintiff(s)
Vv.
Department of Justice, et al

Civil Action No. bee C40V0374

Defendant(s)

SUMMONS IN A CIVIL ACTION | at
Cer »)
To: (Defendant's name and address) Vo ha Oee 9 l- 20 Co aA wd Fe de me ?

¢- Lag A ores 0 Ohic

Geo NE ee Awe AW PO Boy \ ‘al

Weehind nw OC 205%e Moahpower i
3610 |

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Elias Costienas
3201 University Ave.
Morgantown, WV 26505

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

Case 1:24-cv-00374-JRR Document1-2 Filed 02/07/24 Page 14 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any)

was received by me on (date)

C1 I personally served the summons on the individual at (place)

on (date) 3; Or

( I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

C1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) > OF
CI I returned the summons unexecuted because 3; OF
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:

